Case 1:21-cv-01169-TCB Document 42-1 Filed 05/07/21 Page 1of1
Frorn: Katie Klimko <Katie_Klimko @gand.uscourts.gov>
Sent: Monday, May 3, 2021 10:02 AM

To: Ibrahim Reyes <ireyes@reyeslawyers.com>; larry_csafirm.com <larry@csafirm. com>; lwood@linwoodlaw.com;
bgoldstucker@nallmiller.com; parndt@nallmiller.com
Subject: 21-cv-01169-TCB Wood v. Frederick et al

Hi counsel,

Judge Batten would like to know when Defendants intend to file a response to the complaint and to-Mr. Wood’s pending
motion to disqualify. If you can let me know, we would appreciate it.

Thank you!
Best,

Katie Klimko

Law Clerk, Hon. Timothy C. Batten, Sr.
United States District Court

Northern District of Georgia
404-215-1420

Katie Klimko@gand.uscourts.gov

From: Patrick N. Arndt <PArndt@nallmiller.com>
Sent: Monday, May 3, 2021 10:18 AM
To: Katie Klimko <Katie _Klimko@gand. uscourts.gov>; Ibrahim Reyes <ireyes@reyeslawyers.com>; larry_. csafirm. com

<larry @csafirm.com>; lwood@linwoodlaw.com; Bob L. Goldstucker <BGoldstucker@nallmiller.com>
Subject: RE: 21-cv-01169-TCB Wood v. Frederick et al

Good morning Ms. Klimko,
Defendants are filing the following documents today:

1. Defendants’ Motion to Dismiss in response to the Complaint;
2. Defendants’ Response to Mr. Wood’s Motion for Preliminary Injunction; and
3. Defendants’ Response to Mr. Wood’s Motion to Tua

Please let me know if you have any questions.

Thanks,

PNA
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~ EXHIBIT

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